                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

 UNITED STATES OF AMERICA

             v.                                      CASE NO. 1:19cr00016

 INDIVIOR INC. (a/k/a Reckitt Benckiser
     Pharmaceuticals Inc.) and
 INDIVIOR PLC,
     Defendants


                                     ORDER

       Upon motion of defendants, Indivior Inc. and Indivior PLC, based on the

 record herein and for good cause shown, it is hereby ORDERED that the

 Defendants’ Surreply in Response to the Government’s Motion for Conflict of

 Interest Inquiry is SEALED until further Order of the Court.



       ENTERED:           September 18, 2019.

                                       /s/   Pamela Meade Sargent
                                             UNITED STATES MAGISTRATE JUDGE




Case 1:19-cr-00016-JPJ-PMS Document 150 Filed 09/18/19 Page 1 of 1 Pageid#: 1323
